                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DMSION
                                  No. 7:98-CR-62- 1-F
                                   NO.7:0o-CV-l63-F


THOMAS LATI'IE McLAMB,                      1
                 Petitioner,
          v.                                1              ORDER
                                            1
UNITED STATES OF AMERICA,                   1
                 Respondent.                1


       This matter is before the court for ruling on the following pending motions:

       1. Thomas Lattie McLamb's ("Thomas")' August 3, 2000, Motion to Vacate, Set Aside or

Correct his Sentence pursuant to 28 U.S.C. 5 2255 [DE-431';

       2. Thomas's uncontested August 3,2000, Motion to Exceed Page Limit [DE-441;

       3. The Government's September 29,2000, Motion to Dismiss or for Summary

Judgment [DE-491;

       4. Thomas's October 4,2000, (first) Motion to Amend or Correct his 9 2255 motion



       5. The Government's Motion to Dismiss Thomas's Motion to Amend or Correct [DE-



       6. Thomas's October 23,2000, (second) Motion to Amend or Correct his 5 2255 motion



       7. Thomas's unopposed November 9,2000, Motion to Adopt the Pleadings of his Co-

Defendant [DE-591;



         The court refers to petitioner by this first name to distinguish him from his son,
Earnest Earl McLamb, who is his co-defendant.

          " ( D E - 3 ' ' designates the referenced document's official Docket Entry number.



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       8. Thomas's unopposed May 14,2002, "Motion to Expurgate for Lack of Jurisdiction"

[DE-901; and

       9. Thomas's unopposed July 23,2004, (third) Motion to Amend or Correct [DE-1061.

       The Government has had an opportunity to respond to each of Thomas's motions, and

has responded to three: the 5 2255 motion, and the first two Motions to Amend or Correct. See

[DE-491; [DE-531; [DE-571. All the motions are ripe and have been pending before this court

for some time.

       Thomas and his son, Earnest Earl McLamb ("Earnest''), were charged in a four-count

Indictment with offenses related to trafficking marijuana. Thomas was charged in all four

c o ~ n t sEarnest
           ;~      was not named in Count Three. Both McLambs retained attorney J. Douglas

McCullough to represent them. Magistrate Judge William N. Mason conducted a Rule 44(c)

hearing on July 24,1998; both defendants executed a Waiver of Right to be Represented by

Separate Counsel on the same date. See [DE-191.

       The McLambs were arraigned on August 31,1998, and individually were thoroughly

advised of their rights by the court. See Transcript of Rule 11 Hearing, Exhibit B to Earnest's

Memorandum in Support of 5 2255 Motion, 7:98-CR-62-2-F, at E-DE #60.~Both McLambs

pled guilty to Counts One and Four pursuant to individual Plea Agreements in which the

Government agreed to dismiss the remaining counts at sentencing. The McLambs promised,

inter alia, to cooperate with the Government, and they both waived their rights to appeal and to

collaterally attack their convictions and sentences except in the event of an upward departure




          Count Four was a criminal forfeiture count.

          Thomas's Motion to Adopt Co-Defendant's Pleadings [DE-591 is ALLOWED.
Therefore, reference may be made herein to documents filed in Earnest's 5 2255 proceeding.
Those documents hereafter will be designated as [ " E - D E - " 1 .




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from the Guideline Range, or on grounds of ineffective assistance of counsel or prosecutorial

misconduct not known to them at the time of their guilty pleas. See [DE-221, at TI 2c.

       The McLambs were sentenced on December 18,1998. No objections were filed to either

Presentence Report, and both defendants individually confirmed under oath at sentencing that

they personally had none. See Exhibit 2 to [DE-431, at 6 . In recognition of pre-sentence

substantial assistance rendered, the Government filed a U.S.S.G. 5 5Ki.i motion, seeking a

downward departure in both McLambs's sentences. The Transcript of the Sentencing Hearing

plainly reflects defense counsel's firm belief that both his clients would be the recipients of Rule

35(b) motions within the year. See Exhibit 2 to [DE-431, at 5,12. Honoring the 55Ki.i motion,

the court sentenced each of Thomas and Earnest to a term of 210 months imprisonment

followed by five years' supervised release. Different counsel were appointed to represent

Thomas and Earnest on appeal, and the Fourth Circuit Court of Appeals affirmed their

convictions by per curiam opinion issued on October 20,1999 [DE-371.

                                          2255 Motion

       On August 2,2000, Thomas timely filed his 5 2255 motion [DE #43] accompanied by a

@-page memorandum of law to which a number of exhibits are attached. Contemporaneously

with his 5 2255 motion, Thomas filed a Motion to Exceed Page Limit [DE-441. Although the

Local Rules limit memoranda to 30 pages, the court in its discretion ALLOWS Thomas's motion

to exceed that limit.

       Thomas's 5 2255 motion purports to state nine claims as follows:

       1. Counsel rendered ineffective assistance at every stage of the proceedings in violation

of Thomas's rights under the Sixth Amendment;

       2. Counsel was ineffective for failing to file a motion to suppress;

       3. The district court plainly erred in its classification of Thomas as a Level 34 Career

Offender;




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       4. Counsel was ineffective for withdrawing Thomas's mental evaluation;

       5. The district court sentenced Thomas based on an inaccurate Presentence Report;

       6. .fie district court relied on inaccurate information in formulating Thomas's sentence;

       7. Counsel was ineffective at sentencing;

       8. Counsel was ineffective, and the Government engaged in misconduct, at sentencing

with regard to Thomas's cooperation;

       9. Counsel was ineffective on appeal for failing to raise the list of arguments prepared by

Thomas.

                                           A. Waiver

       Thomas's Memorandum of Plea Agreement contains waivers of his right to appeal and

to raise on collateral review any claim except one "based upon grounds of ineffective assistance

of counsel and prosecutorial misconduct not known to the Defendant at the time of the

Defendant's guilty plea." Memorandum of Plea Agreement [DE-221, TI 2(c) (emphasis added).

At the arraignment, the court read aloud the terms of the Plea Agreement, including the

following:

       You waive all rights to appeal whatever sentence is imposed, including any issues
       that relate to the establishment of the guideline range. You reserve only the right
       to appeal from an upward departure from the guideline range established at
       sentencing.

              You waive all rights to contest the conviction and sentence in any post-
       conviction proceeding, including one wherein you petition for writ of habeas
       corpus, except you reserve the right to assert such proceeding based upon the
       grounds of ineffective assistance of counsel or prosecutorial misconduct not
       known to you at this time.

Transcript of Rule 11Proceeding at 18-29. Thomas confirmed the substance of his plea

agreement. See id. at 21.

       Thomas's 3 2255 Claims Two, Three, Five and Six specifically are subject to the waiver,

and therefore are DISMISSED.




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                                          B. Overview

       The claims remaining for consideration all are based on Thomas's contention that his

lawyer rendered ineffective assistance in violation of the Sixth Amendment. Claim One

generally alleges ineffectiveness at virtually every stage of his prosecution. Claim Four

contends that counsel rendered ineffective assistance by withdrawing a request for a mental

evaluation that would have provided the basis for a downward departure at sentencing for

diminished capacity. Claims Seven and Eight attack counsel's performance at the

sentencing phase, and Claim Nine alleges ineffective assistance on appeal.

              Immediately upon their arrest, Thomas and Earnest were assigned court-

appointed attorneys. However, on July 17,1998, defense counsel J. Douglas McCullough

entered notices of appearance, and filed motions for Rule 44(c) hearings as to each defendant.

Following the Rule 44(c) hearings on July 24,1998, both defendants signed waivers of their

right to be represented by separate counsel. Appointed counsel were relieved, and Mr.

McCullough became counsel of record for both father and son.

       At no time during the pendency of this prosecution did Thomas complain about Mr.

McCullough's performance. In fact, the transcript of the Rule 11and sentencing hearings will

attest to Thomas's declarations under oath concerning his satisfaction with counsel, his

understanding of the charges and the consequences of pleading guilty, and his desire to plead

guilty according to the terms of the Memorandum of Plea Agreement into which he entered with

the Government on August 31,1998, [DE-231.

       Notwithstanding the waiver contained in that Agreement, Thomas appealed his

sentence. s e e [DE-311. Mr. McCullough was relieved of the further obligation to represent the

McLambs, and separate counsel were appointed for father and son shortly after the record on

appeal was completed in the Fourth Circuit Court of Appeals. See [DE-361. However, Thomas




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complains that appellate counsel conferred and filed a "joint appeal," and that his lawyer failed

to raise all the claims he had requested.

                                     C. Standard of Review

       To prevail on a claim for relief on grounds of ineffective assistance of counsel, Thomas

must satisfy both prongs of the test set forth in Strickland v. Washington, 466 U.S. 668 (1984).

The first prong is that the attorney's performance fell below some objective standard of

reasonableness. See id. at 687-91. Second, Thomas must show that, but for his lawyer's

unprofessional efforts, the result of his case would have been different. See id. at 694. Because

Thomas must satisfy both of these two essential elements, the Government will prevail if it can

demonstrate Thomas's inability to satisfy either. If the Government shows that Thomas cannot

meet the second element - prejudice - there is no need to reach the first. See id. at 697; Burch

v. Corcoran, 273 F.3d 577,588 (4h Cir. 2001), cert. denied, 122 S. Ct. 2311 (2002). A

presumption exists that counsel acted competently, and the burden rests with Thomas

ultimately to demonstrate a constitutional violation. See United States v. Cronic, 466 U.S. 648

(1984).
       A s to the instant Motion to Dismiss or for Summary Judgement, the Government bears

the burden of proof to show that Thomas has failed to state a claim upon which relief may be

granted under 28 U.S.C. 3 2255, Rule 12(b)(6), FED.R. CIV. P., or that no genuine issue of

material fact exists that necessitates an evidentiary hearing and that the Government is entitled

to judgment as a matter of law, id. at Rule 56.

                                        D. Speczjic Claims

                                        Claim One
                            Counsel Im~roperlyInduced Guiltv Pleas

       The court perceives the gravamen of Thomas's first 3 2255 claim to be that his trial

counsel improperly induced him to enter into a guilty plea with the Government, thus rendering




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that plea involuntary. Claim One, alleging pervasive ineffective assistance of counsel, is

grounded primarily on the following contentions: Thomas, who then was in his late 50's and

had only a fifth grade education, relied on Mr. McCullough's representations that his status as a

former Assistant United States Attorney allowed him to command unique respect from the

court and the Government, and that he, therefore, could control the outcome of Thomas's case.

       Thomas contends that Mr. McCullough told him that he (McCullough) was the

prosecutor's former boss, that he often had dinner with the judge, and that he had played golf

with both the prosecutor and the judge. Thomas relates that Mr. McCullough told him what to

say in court, assuring him he would receive less than ten years' imprisonment if he pled guilty

and continued to cooperate with the Government. Thomas complains, in essence, that

McCullough sold him and his son down the river once McCullough received his fee. In short,

Thomas contends his guilty plea was involuntary and unknowing because of his reliance on the

misrepresentations of a constitutionally ineffective attorney.

       The Government's response to the allegations contained in Claim One is that it must be

dismissed because the contentions are "extreme," and are refuted by Mr. McCullough's

affidavit, attached to the Government's Memorandum, [DE-501. Contrary to the Government's

belief, such an affidavit has just the opposite effect. Mr. McCullough's affidavit disputing his

former client's allegations demonstrates the existence of an issue of fact whether or not those

                                                                          5 2255
allegations are true. See Advisory Committee Note to Rule 5, RULESGOVERNING

PROCEEDINGS
         ("Numerous cases have held that the government's answer and affidavits are not

conclusive against the movant, and if they raise disputed issues of fact, a hearing must be

held."). See also, e.g., United States v. Miller, No. 99-7158, 2000 WL 655981 (4thCir. May 18,

2000). If a fact is material and the issue genuine, then an evidentiary hearing is required. See

Rule 56(e), Fed. R. Civ. P.; Pham v. United States, 317 F.3d 178,187 (nd Cir. 2003).




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       In order to determine whether the facts alleged by Thomas are "material" to resolution

of the claim he has advanced, the court first looks to his pleadings. Thomas complains in Claim

One that his sentence exceeded the ten year maximum allegedly promised by Mr. McCullough.

Thomas implies that he believed Mr. McCullough's alleged assurance of his ability to control

the outcome of Thomas's case. Of course, the statements he sets out in his 5 2255 motion are

contrary to those he made under oath in open court in response to questions by the undersigned

concerning whether there were any other promises made to him and whether he understood

that the court was not bound by any agreement between him and the Government, and that it

was the court that would decide his sentence. Thomas's alleged reliance on McCullough's

"promise" of a sentence less than ten years was patently unreasonable, in light of the record,

including Thomas's own sworn statements.

       Furthermore, Thomas no where has declared that he would have rejected the plea

agreement offered by the Government, and instead put the Government to its proof at trial, but

for Mr. McCullough's alleged representations. Disappointment in the sentence imposed is not

grounds for relief under 5 2255.

                                        Claim Four:
                  Failure to Pursue Devarture for Diminished Mental Capacity

       Thomas also contends that Mr. McCullough was ineffective because he did not pursue a

departure at sentencing based on diminished capacity. The Government has moved to dismiss

that claim or for entry of summary judgment thereon because (a) it does not know what "mental

evaluation" Thomas is referring to, and (b) Mr. McCullough believed that there was no factual

basis upon which to seek a downward departure for diminished mental capacity. The

Government notes also that Thomas advised the Presentence Report writer that he had no

history of mental problems.




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       The official docket in this matter reflects that on July 6,1998, a motion was filed on

behalf of Thomas by his court-appointed counsel (who withdrew after the McLambs hired Mr.

McCullough), for an order directing that Thomas undergo a psychiatric examination. The

motion was referred to the Magistrate Judge on July 7,1998, but the docket does not reflect that

an order ever was issued. Mr. McCullough entered a notice of appearance only ten days after

the motion was referred.

       Although the printed record does not so state, the chain of events revealed by the docket

sheet strongly suggests that the decision not to pursue the mental evaluation and a diminished

capacity theory was made when Mr. McCullough took the reins of Thomas's and Earnest's

defense. The case took a conciliatory turn, resulting in entry of the guilty pleas on August 31,

1998, following initial cooperation by both defendants. Indeed, the Government moved for

downward departures at sentencing in recognition of the defendants' substantial assistance as

of the date of sentencing, and indicated in the strongest terms that it expected that more

assistance - and a further request for leniency - would be forthcoming.

       The record supports the court's recollection that the McLambs relinquished their pre-

plea adversarial posture in order to curry favor from the Government in hopes of receiving

recommendations of leniency. Withdrawal of the motion for a mental evaluation would be

consistent with a defense strategy to fully cooperate with the Government in an effort to

persuade the Government to file a Rule 35(b) motion, rather than attack the Government's case

and possibly lose the chance for a later reduction in sentence. Such a tactic falls well within "an

objective standard of reasonableness . . . under prevailing professional norms" and "considering

all the circumstances." Strickland, 466 U.S. at 688. Thomas has offered only speculation to

support his contentions in Claim Four.




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                                    Claims Seven & Eight:
                                    Ineffective Assistance and
                              Prosecutorial Misconduct at Sentencing

       In support of his allegation in Claim Seven that his lawyer was ineffective at sentencing,

Thomas reiterates his contentions that Mr. McCullough advised him that his close relationship

with the judge and his former position as an Assistant United States Attorney would ensure a

sentence of less than ten years and a further sentence reduction upon a later Rule 35 (b) motion.

Thomas also contends that Mr. McCullough made no real attempt at sentencing to challenge

the calculation of his guideline range or to present mitigating evidence.

       In Claim Eight, Thomas asserts that his lawyer was ineffective at sentencing when he

failed to elaborate on Thomas's cooperation with the Government to date, and failed to require

the Government to detail for the court the extent of that cooperation, as required by the terms of

the Presentence Report. He further contends the Government's misconduct in failing at

sentencing to recite the full details of his assistance violated his constitutional rights.

       In reviewing with Thomas the terms of his Memorandum of Plea Agreement, the court

specifically advised Thomas during his Rule 11 hearing, inter alia, that the Government:

       agrees to make known to the court at sentencing the full extent of your
       cooperation, including whether the Government deems you to have substantially
       assisted authorities. The Government is not promising to move for a downward
       departure by reason of the same.

Arraignment Transcript at 20. Thomas stated under oath that this provision and others

constituted "the sum and substance of your plea agreement with the Government." Id. at 21.

He also answered, "No" to the questions, "Has anyone made any promise to . . . you other than

the plea agreement that induced you to plead guilty," id., and "Has anyone made any promise to

you as to what your sentence will be," id. at 22.

       The transcript of the sentencing hearing, also a matter of record in this case, clearly

conveys the firm belief on the day of sentencing, both of the Government and of defense




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counsel, that Thomas would earn a Rule 35@) motion within a year. See Sentencing Hearing

Transcript at 4-5. However, the court made clear, and Thomas confirmed his understanding,

that "the Government is not required to return to court with a Rule 35(b) motion to seek a

reduction in your sentence, and that it is completely within the Government's discretion

whether or not to do so," id. at 5, and that "if the Government decides not to make a Rule 35@)

motion on your behalf that you are not entitled to relief from the court," id. at 6.

               [A] defendant's solemn declarations in open court affirming [a plea]
       agreement . . . "carry a strong presumption of verity," . . . because courts must be
       able to rely on the defendant's statements made under oath during a properly
       conducted Rule 11plea colloquy. United States v. Bowman, 348 F.3d 408,417
       (qth Cir. 2003). "Indeed, because they do carry such a presumption, they present
       'a formidable barrier in any subsequent collateral proceedings.' " [United States
       v.] White, 366 F.3d at 295-96 (quoting Blackledge, 431 U.S. at 74,97 S.Ct. 1621).
       Thus, in the absence of extraordinary circumstances, . . . allegations in a 5 2255
       motion that directly contradict the petitioner's sworn statements made during a
       properly conducted Rule 11colloquy are always "palpably incredible" and
       "patently frivolous or false." . . . . Lasiter v. Thomas, 89 F.3d 699, 702-03 (loth
       Cir. 1996) ("[The petitioner] [i]s bound by his solemn declarations in open court
       and his unsubstantiated efforts to refute that record [alre not sufficient to
       require a hearing. This case does not involve the most extraordinary
       circumstances.") (internal quotation marks omitted); Ouellette v. United States,
       862 F.nd 371,377-78 (iHCir. 1988) (holding that an evidentiary hearing is not
       required when a petitioner's uncorroborated allegations are directly contradicted
       by his testimony at the time of his plea colloquy) . . . . Thus, in the absence of
       extraordinary circumstances, the truth of sworn statements made during a Rule
       11colloquy is conclusively established, and a district court should, without
       holding an evidentiary hearing, dismiss any 5 2255 motion that necessarily relies
       on allegations that contradict the sworn statements. Otherwise, a primary virtue
       of Rule 11colloquies would be eliminated- "permit[ting] quick disposition of
       baseless collateral attacks," Blackledge [v. Allison], 431 U.S. at 79 n. 19 (1977).

Lemaster, 403 F.3d at 221 -222 (citations omitted).

       The court has carefully considered Thomas's contentions and his arguments in support

thereof, in light of the record in this case and the controlling law, and concludes that there is no

genuine issue of material fact that necessitates an evidentiary hearing, as Thomas plainly stated

under oath that he received no promises, and understood that the Government was not required

to make a Rule 35(b) motion on his behalf. While the court recognizes that Thomas has had




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very little education, the concepts underlying these questions and answers are elementary.

Thomas has failed to carry his burden of going forward by demonstrating the existence of any

material fact requiring resolution by evidentiary hearing.

                                           Claim Nine
                            Ineffective Assistance of Appellate Counsel

       Finally, Thomas contends that the attorney appointed to represent him on appeal was

ineffective because he did not seek or obtain severance of Thomas's appeal from that of his son,

co-defendant Earnest McLamb, and because he did not raise seven enumerated issues on appeal

that Thomas typed out for him. See list at pp. 46-47, Memorandum in Support of 9 2255

Motion [DE-431. He contends also that appellate counsel should have sought out additional

grounds for appeal.

       Thomas waived his right to appeal. Specifically, his Memorandum of Plea Agreement

[DE-221 provided, "you waive all rights to appeal whatever sentence is imposed, including any

issues that relate to the establishment of the Guideline range. You reserve only the right to

appeal from an upward departure from the Guideline range established at sentencing." Id. at Y

2(c); Transcript of Arraignment at 18. Thomas's 210-month sentence was within the 188-235-

month Guideline range, and represented a downward departure from the sentence the court

would have imposed, absent the Government's U.S.S.G. 9 5K1.1 motion.

       Whether a waiver of the right to appeal is knowing and intelligent depends upon the

facts and circumstances surrounding its making, including the defendant's background,

experience, and conduct. See United States v. Davis, 954 F.nd 182,186 (4thCir. 1992). A

waiver is ineffective, however, if the district court fails to question the defendant about it, see

United States v. Wessells, 936 F.nd 165,167-68 (4'h Cir. i99i), unless other evidence in the

record shows that the waiver was informed and voluntary. See Davis, 954 F.nd at 186. Here,

Thomas was thoroughly questioned about the waiver provision in his plea agreement, and the

court was satisfied that such agreement, including the waiver, was knowing and voluntary.




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       Notwithstanding his valid waiver, however, Thomas did file an appeal, was afforded the

benefit of appointed counsel to represent him, and raised before the Fourth Circuit Court of

Appeals the issue whether the Government breached the plea agreement by failing to fully

disclose at sentencing the scope of Thomas's cooperation. By per curium opinion, the appellate

court affirmed the conviction and sentence. See United States v. McLamb, No. 99-4029 (4thCir.

Oct. 15,1999).
       The Strickland standard applies to the constitutional adequacy of appellate counsel as

well as to trial counsel. Thus, in order to establish ineffective assistance of appellate counsel,

Thomas would have to show that appellate counsel's failure to raise the appeal issues he

requested was objectively unreasonable, and that, but for his counsel's deficient performance,

there is a reasonable probability that his appeal would have succeeded. Cf.Strickland, 466 U.S.

at 688,694.

       When a defense attorney focuses on some issues to the exclusion of others, there is a

strong presumption that he did so for tactical reasons, rather than through sheer neglect. See

Yarborough v. Gentry, 540 U.S. I, 5-6 (2003). In light of all the circumstances of this case,

revealed in the record and by Thomas's motion, and within the court's own recollection, the

court is cannot find that Thomas has any reasonable probability that any of his appeal issues

would have succeeded. Additionally, in light of Thomas's express desire to adopt Earnest's

motions and memoranda, the court likewise incorporates herein Section 111 of this court's order

in United States v. Earnest Earl McLamb, No. 7:98-CR-62-2-F (Order of March 11, 2003)

[DE-951, at 13-15).
       To the extent that any other of Earnest's 5 2255 claims could be construed to apply to the

facts of Thomas's case, the court deems those claims to have been set forth herein. However, for

the same reasons set forth in this court's order of March 11,2003 [E-DE-951, those claims are

DENIED and DISMISSED.




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                                  MOTIONS TO AMEND
       Each of Thomas's Motions to Amend or Correct his § 2255 Motion is DENIED. See [DE-

52, DE-56, and DE-1061. All those motions are untimely, as they were filed beyond the one-year

limitations period applicable to such motions and sought to raise new claims that would not

relate back to Thomas's initial motion. Moreover, none of the Motions to Amend raises a

meritorious claim. The Government's Motion to Dismiss [DE-531 the first Motion to Amend is

ALLOWED.

                                          SUMMARY
       In summary, for the reasons set forth herein, the Government's Motions to Dismiss or

for Summary Judgment [DE-49 and -531 are ALLOWED and this action is DISMISSED.

Thomas's Motions to Adopt Pleadings [DE-591, and to Exceed Page Limit [DE-441 are

ALLOWED. However, Thomas's Motions to Amend the § 2255 Motion [DE-52, -56 and 1061

are DENIED, as is his "Motion to Expurgate for Lack of Jurisdiction," [DE-901. Any other

pending motions are DENIED as moot.

       The Clerk of Court is DIRECTED to close this case.

       SO ORDERED.
                    rl
       This the ~ - d ofaJanuary,
                           ~      2007




                                   AJ     ESC. FOX
                                        nior United States District Judge




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